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                 EXHIBIT K
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                                                Return of Non-Service

                                         UNITED STATES DISTRICT COURT
                                               District of Columbia

Abigail Carmichael Jordan                                                           Case Number: 1:24-cv-01844-TNM
  Plaintiff

vs.

Marco Rubio, in His Official Capacity as U.S.
Secretary of State, et al,
  Defendant


On behalf of:
Gibson, Dunn & Crutcher LLP
1700 M Street, N.W.
Washington, D.C. 20036-4504


Received by Cavalier to be served on Governor Glenn Youngkin, Office of the Governor of Virginia, at 1111 E Main
Street, 16th Floor, Richmond, VA 23219.

I, James Anderson, being duly sworn, depose and say that on February 5, 2025 at or about 12:00 PM I was not able to
serve Summons & Amended Complaint; Standing Order for Cases Before Judge Trevor N. McFadden; Civil Docket
Sheet for the reasons detailed below.

On February 5, 2025, at 11 :45 AM Attempted service at the Office of the Attorney General, 202 North Ninth Street,
Richmond, VA 23219, spoke to Jennifer Onusconich who refused service and stated that they only accept service if the
Attorney General or the Commonwealth of Virginia is listed as a defendant in the case. Then, I attempted service at the
Office of the Governor at 1111 E Broad Street, Richmond, VA 23219. They refused service and tried to direct service to
the Attorney General's Office.


I am a natural person over the age of eighteen and am not a party or otherwise interested in the subject matter in
controversy. I am a private process server authorized to serve this process in accordance with relevant law. Under
penalty of perjury, I declare that the foregoing is true and correct.




                                                                       James Anderson                           Date
                                                                       Cavalier CPS
                                                                       823-C S. King Street
                                                                       Leesburg, VA 20175
                                                                       (703) 431-7085

                                                                       Our Job Number: 2025-136438
